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                                                   September 15, 2022
           Via CM!ECF Filing
           Honorable John Michael Vazquez, U.S.D.J.         Honorable James B. Clark, III, U.S.M.J.
           United States District Court for the District of United States District Court for the District of
           New Jersey                                       New Jersey
           Martin Luther King Building & U.S.               Martin Luther King Building & U.S.
           Courthouse, Courtroom P0 03                      Courthouse, Courtroom MLK 2A
           50 Walnut Street                                 50 Walnut Street
           Newark, New Jersey 07102                         Newark, New Jersey 07102

                          Re:            Redi-Data, Inc. v. The Spamhaus Project a/hi/a The Spainhaus Project Ltd.,
                                         Case No. 2:20-cv-17484-JMV-JBC

           Dear Judge Vazquez and Judge Clark:

                   This firm represents plaintiff, Redi-Data, Inc. (“Redi-Data”), in the above-referenced
           matter. We write to respectfully request a30 day extension of thjurisdjctiondjovei end
           daLI2tober 3, 2022 to November 2, 2022 In addition, Redi-Data is also seeking an
           adjournment of the September 21, 2022 status letter deadline and the September 27, 2022
           telephone status conference to a date convenient for the Court closer to the new jurisdictional
           discovery end date. Defendant, The Spamhaus Project (“Defendant”), consents to this request.

                   Redi-Data respectfully submits that sufficient good cause exists for the requested
           extension and adjournments. Pursuant to the August 2, 2022 Order [Dkt. No. 25], Redi-Data
           served written discoveiy demands that Defendant has responded to. Although the parties timely
           began a meet and confer process over certain alleged deficiencies in Defendant’s responses, the
           parties have since begun exploring the possibility of settlement.

                  Accordingly, to avoid the incurrence of potentially unnecessary costs, and out of respect
          for the Court’s time and resources, Redi-Data respectfully requests that the relief sought herein
          be granted. As always, the Court’s time and attention to this matter are greatly appreciated.

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      O-l9..                                                           COLE SCHOTZ P.C.
           if         1Rk4 C’c sCkLJtA c0Y    /s/ Elizabeth A. Carbone
S.4eAu 272              o4- 4- Oc     22221i zabeth      A. Carbone SO ORDERED
        cc:              All Counsel of Record Via CM/ECF                                            ilJames B. Clark
                                                                                                  James B. Clark, U.S.M.J.
          28662/0002-43791 834v1
                                                                                                 Date:
